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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


      SHANNON DONALD SEXTON,
                                                       Civil Case No. 15-cv-12848
               Petitioner,
                                                    Criminal Case No. 13-cr-20792-02
                   v.
                                                  UNITED STATES DISTRICT COURT JUDGE
                                                          GERSHWIN A. DRAIN
     UNITED STATES OF AMERICA,
                                                   UNITED STATES MAGISTRATE JUDGE
              Respondent.
                                                           DAVID R. GRAND
                                        /


       ORDER DENYING PETITIONER’S APPLICATION FOR CERTIFICATE OF
             APPEALABILITY PURSUANT TO 28 U.S.C. § 2253 [62]

                                 I. INTRODUCTION

      Before the Court is Petitioner’s Motion for Certificate of Appealability

pursuant to 28 U.S.C. § 2253. See Dkt. No. 62. However, upon review of the

Motion, the Court finds that Petitioner, acting pro se, intended to file a Motion for

Reconsideration of the Court’s prior Order Denying Petitioner’s Motion to Vacate,

Set Aside or Correct Sentence, and Denying a Certificate of Appealability. See

Dkt. No. 58. As such, the Court shall treat the pending Motion as a Motion for

Reconsideration.

      Under this Court’s Local Rules, a motion for reconsideration must be filed

within 14 days after entry of the judgment or order. E.D. Mich. L. R. 7.1(h)(1). The



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original Judgment denying Petitioner’s request for a Certificate of Appealability

was entered on January 4, 2016. See Dkt. No. 59. Petitioner’s current Motion was

filed on March 7, 2016. See Dkt. No. 62. More than 14 days had passed between

the entry of the judgment and Petitioner’s motion. Accordingly, the Motion is

untimely and is DENIED.

      IT IS SO ORDERED.


Dated: March 10, 2016                        /s/Gershwin A Drain
Detroit, MI                                  HON. GERSHWIN A. DRAIN
                                             United States District Court Judge




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